Case 1:19-cv-24469-KMW Document 1-4 Entered on FLSD Docket 10/29/2019 Page 1 of 4
                                                          Tuesday, February 5, 2019 at 5:32:27 PM Eastern Standard Time

Subject:    RE: RDJ2016801013, Roberto DE OLIVEIRA VASQUES
Date:       Wednesday, January 2, 2019 at 7:42:35 AM Eastern Standard Time
From:       ImmigraKon, Rio
To:         Michael Liberatore
CC:         ROBERTO VASQUES, Henna Vieno
AFachments: image001.jpg, image002.png, image003.png, image004.png, image005.png, image006.jpg,
            image007.jpg

Dear Sir,

Please disregard the noKﬁcaKon. We have extend the process validity for one year.


Atenciosamente,
Best regards,

Immigrant Visa Unit
United States Consulate General
Rio de Janeiro - RJ –Brazil
br

“Please note that the information regarding this visa case is protected from disclosure under Section 222(f)
of the INA, 8 U.S.C. 1202(f), and in accordance with that law, may only be used for the “formulation,
amendment, administration, or enforcement of the immigration, nationality, or other laws of the United
States and is consistent with INA Section 222(f), 8 U.S.C. 1202(f)”.




From: Michael Liberatore [mailto:michael@liberatoreusa.com]
Sent: Monday, December 31, 2018 12:08 PM
To: NVC Attorney, Mailbox; Immigration, Rio
Cc: ROBERTO VASQUES; Henna Vieno
Subject: RDJ2016801013, Roberto DE OLIVEIRA VASQUES


Name of the person submitting the inquiry:
Michael J. Liberatore, Attorney of Record
USCIS case number:
RDJ2016801013
Name and date of birth of Principal Applicant:
Roberto DE OLIVEIRA VASQUES, dob: 06/19/1957 (Immigrant Investor)
Dependent applicants:         Ana Paula COSTA, dob: 05/08/1972 (spouse)

Fernando DE OLIVEIRA VASQUES, dob: 12/14/2007 (child)
                             Pedro Henrique DE OLIVEIRA VASQUES, dob: 01/16/2010 (child)
                             Paulo Roberto DE OLIVEIRA VASQUES, dob: 01/22/2012 (child)
Name, law firm & address, Attorney of Record:
Michael J. Liberatore, Law Office of Michael J. Liberatore, P.A. 1000 Brickell Avenue, Suite 450, Miami, FL 33131




                                                                                                                    Page 1 of 4
Case 1:19-cv-24469-KMW Document 1-4 Entered on FLSD Docket 10/29/2019 Page 2 of 4

Dear Madam/Sir:

Post sent us the attached notice, claiming that the referenced immigrant visa petition has, or will soon be, canceled, for lack of
response/activity by applicant. Please accept this letter as a vigorous reminder that Mr. Vasques has no intention of abandoning his
application. Indeed, as detailed below, he has made numerous contacts with post in 2018, directly through our office and through Senator
Bill Nelson’s office, to request final processing and to inquire what additional info/docs Post needs to finalize the case review. For the
record, post has not responded, other than to say that the case remains in administrative processing.

Our office acts as attorney of record for Mr. Roberto Vasques and family. The applicants have pending immigrant visa petitions based
upon Mr. Vasques’ status as an approved EB5 investor, with an approved I-526. The case is pending before the U.S. Consulate in Rio de
Janeiro under case number RDJ2016801013.

It has now come to our attention that the immigrant visa cases of Mr. Vasques and his dependents are about to expire, presumably for lack
of inaction on his part. Nothing could be further from the truth. This office has made numerous inquiries ever since Mr. Vasques and his
family appeared at their immigrant visa interview, first on 12-01-2017 and then on 12-22-2017. We have requested a status report from
post on multiple occasions. Last but not least, we enlisted the help of the senatorial liaison at the office of Florida Senator Bill Nelson.
The reply to each inquiry, including the one by congressional liaison, has stated that the matter is under administrative processing and that
there is nothing to do but to wait for the administrative processing to be concluded.

The matter is now of great urgency. Please confirm that post understands that Mr. Vasques has not abandoned his case, that his immigrant
visa processing will continue. If Mr. Vasques’ administrative processing has been concluded, please inform our office how Mr. Vasques
should proceed.

Below is the timeline of all events in the case after Mr. Vasques and his family appeared at their immigrant visa interview at the consulate
on 12-01-2017:



12-01-2017: Mr. Vasques and family appear at post for their scheduled immigrant visa interview and are turned away to complete and fill
out an additional form;

12-05-2017: Liberatore law office requests urgent rescheduling of interview;

12-13-2017: Liberatore law office requests urgent rescheduling of the interview;

12-15-2017: Post informs no interview dates are available;

12-18-2017: Mr. Vasques requests urgent rescheduling of interview;

12-20-2017: Post schedules Mr. Vasques for a new interview on 12-22-2017;

12-22-2017: Mr. Vasques and family appear at post for immigrant visa interview;

12-22-2017: Post requests digital copy of source of funds documentation from the I-526 petition;

12-22-2017: Liberatore law office emails post the requested digital files concerning source of funds;

12-26-2017: Liberatore law office re-sends post the requested digital files concerning source of funds in another format;

01-10-2018: Post requests additional background information on the applicants; applicant provides the information;

02-02-2018: Liberatore law office requests an update on the case process and asks post to specify what additional info/documents, if any,
need to be provided;

02-06-2018: Post informs the applicant and counsel that the case is under administrative processing;

02-06-2018: Liberatore law office requests clarification concerning possibility of return of passports, with the proviso that the return of
passports not interrupt immigrant visa processing;


                                                                                                                                         Page 2 of 4
Case 1:19-cv-24469-KMW Document 1-4 Entered on FLSD Docket 10/29/2019 Page 3 of 4


02-07-2018: Post responds that the passports will be made available to investor and his family;

02-07-2018: Liberatore law office again requests confirmation that the return of passports will not interrupt the immigrant visa
processing;

02-09-2018: Post confirms that the return of passports will not interrupt immigrant processing and that post will request the passports
back when they are needed;

02-21-2018: Mr. Vasques picks up passports at US Consulate in São Paulo;

02-21-2018: Mr. Vasques sends email to post, stating that he wishes to return passports out of fear that the passport return may interrupt
or delay immigrant visa processing

02-25-2018: Liberatore law office requests an update on the case process from Rio de Janeiro consular post and asks post to specify what
additional info/documents, if any, need to be provided, as well as a confirmation that the retrieval of passports will not cause undue delay
in the process;

02-27-2018: Post confirms that the return of passports will not interrupt immigrant processing and that post will request the passports back
when they are needed;

04-04-2018: Liberatore law office requests an update on the case process and asks post to specify what additional info/documents, if any,
need to be provided;

04-22-2018: Liberatore law office requests an update on the case process and asks post to specify what additional info/documents, if any,
need to be provided;

04-26-2018: Post informs that the case is under administrative processing and that no estimate is available as to how long this may take;
post assures that a contact will be made as soon as the administrative processing is concluded.

06-15-2018: Liberatore law office requested assistance from the congressional liaison at the office of Florida Senator Bill Nelson.

08-21-2018: Liberatore law office again requests assistance from the congressional liaison at the office of Florida Senator Bill Nelson.

09-05-2018: Office of Florida Senator Bill Nelson makes an inquiry on behalf of Mr. Vasques and his family.

09-11-2018: Consular Section Chief Rebecca Pasini responds to Senator Nelson’s office, indicating that the case remains under
administrative processing and that no estimate is available as to how this may take; post assures that a contact will be made as soon as the
administrative processing is concluded.

Resigned to wait for the administrative processing to take its course, Mr. Vasques has been patiently expecting a contact from the post.
Despite assurances that the Consular Section at the Rio de Janeiro post will contact Mr. Vasques, Mr. Nelson’s office or this counsel when
the administrative processing has been concluded, no contact or correspondence has been received to date.

If the case were now cancelled for inaction, this would be a colossal injustice. Far from abandoning the case, Mr. Vasques and this law
office have been extraordinarily proactive, supplying documents and information at every turn, and going to extraordinary lengths,
including involving a senatorial liaison on the case, to break an impasse in the immigrant visa processing of this family. Post has
acknowledged receiving our contacts during 2018. Post has responded to the Senatorial liaison inquiry in 2018. It is inconceivable,
therefore, that post can now claim the case will be canceled for inaction on Mr. Vasques’ part.

Kindly confirm that the case is not/will not be scheduled for cancelation for inactivity. Please confirm that the case processing will
continue unabated. We ask that no undue prejudice come to Mr. Vasques and his family, in the form of further delays or additional
processing fees. We further request that post advise as to what additional information or documents are required in order to conclude
administrative processing. As a matter of basic fairness, please note that this case has now taken almost a full year. Our office and Mr.
Vasques would be more than happy to provide any missing items you may request. The Vasques family is ready to travel back to the
consulate on a moment’s notice, in case another interview is required.




                                                                                                                                        Page 3 of 4
Case 1:19-cv-24469-KMW Document 1-4 Entered on FLSD Docket 10/29/2019 Page 4 of 4

Kindly acknowledge receipt of this email.

Best regards.



Michael J. Liberatore
Attorney of Record




Michael J. Liberatore, P.A.
1000 Brickell Avenue, Suite 450
Miami, Florida 33131
KINDLY NOTE THAT OUR OFFICE SUITE NUMBER HAS CHANGED FROM #400 TO #450
Tel (305) 374-0306
Fax (786) 272-0652
Michael@LiberatoreUSA.com
* Member, Mass. & California Bars

The information contained in this transmission may contain privileged and confidential information. It is intended only for the
use of the person(s) named above. If you are not the intended recipient, you are hereby notified that any review, dissemination,
distribution or duplication of this communication is strictly prohibited. If you are not the intended recipient, please contact the
sender by reply email and destroy all copies of the original message.




                                                                                                                               Page 4 of 4
